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' ,PROB 35                  Report and Order Terminating Probation/Supervised Release
(Rev. 5/01)                              Prior to Original Expiration Date



                                    UNITED STATES DISTRICT COURT
                                                           FOR THE

                                                Middle District of Alabama




                                                               }
               UNITED STATES OF AMERICA

                               v.                                     Crim. No. 2:05cr119-WKW-01

                 DON EUGENE SIEGELMAN


         On           August 8, 2017            the above named was placed on supervised release for a period of

   3      years. The supervised releasee has complied with the rules and regulations of supervised release and is no

longer in need of supervision. It is accordingly recommended that the supervised releasee be discharged from

supervision.

                                                                         Respectfully submitted,




                                                                                    /s/ David Armstrong
                                                                                Senior United States Probation Officer
                                                                                    Northern District of Alabama



                                                      ORDER OF COURT

         Pursuant to the above report, it is ordered that the supervised releasee be discharged from supervision

and that the proceedings in the case be terminated.

         Dated this      i i.1:h       day of      .3.7A.4412_,                       ,20 I 1        .




                                                                        UNITED STATES DISTRICT JUDGE
